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 4
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 5
     DONNA ROWE
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                        ) Case No. CR S 05-0128 LKK
12
                                                      )
                                Plaintiff,            )
13
                                                      ) ORDER EXTENDING VOLUNTARY
           vs.                                        ) SURRENDER DATE
14
                                                      )
                                                      )
15
                                                      )
     JAMES KALFSBEEK, et al.,                         )
16
                                                      )
                                Defendants.           )
17
                                                      )

18                                                 ORDER
19          A request to extend the time for voluntary surrender having been presented in open court
20   on May 25, 2010, and GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
21   THAT defendant, DONNA ROWE, shall self-surrender at the facility to be designated by the
22   Bureau of Prisons, on or before 2:00 p.m. on June 11, 2010. The Court is granting defendant’s
23   request to permit her to complete an ongoing medical evaluation.
24   Dated: May 27, 2010
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     _________________________________________________________________________________________________
     [Proposed] Order Extending Voluntary                                       Case No. CR S 05 0128 LKK
     Surrender Date
